Case 2:19-cv-07271-GRB-LGD Document 39-29 Filed 01/03/23 Page 1 of EXHIBIT
                                                                   27 PageID27
                                                                            #: 620
                                                                                          November 21, 2022

                                                             Page 1                                          Page 3
                                                                       1
               UNITED STATES DISTRICT COURT                            2   FEDERAL STIPULATIONS
               EASTERN DISTRICT OF NEW YORK
                                                                       3
               ------------------------------------------X
               MARIA SUAREZ,                                           4       IT IS HEREBY STIPULATED AND AGREED
                                                                       5   By and between (among) counsel for the
                                PLAINTIFF,                             6   respective parties herein, that filing and
                                                                       7   sealing be and the same are hereby waived.
                     -against-    Case No.:
                                                                       8
                          2:19-cv-07271-GRB-SIL
                                                                       9       IT IS FURTHER STIPULATED AND AGREED
               SOUTHERN GLAZER'S WINE AND SPIRITS OF NEW              10   that all objections, except as to the form
               YORK LLC,                                              11   of the question, shall be reserved to the
                                   DEFENDANTS.                        12   time of the trial.
               ------------------------------------------X
                                                                      13
                         DATE: November 21, 2022                      14       IT IS FURTHER STIPULATED AND AGREED
                         TIME: 12:25 A.M.                             15   that the within deposition may be sworn to
                                                                      16   and signed before any officer authorized to
                                                                      17   administer an oath, with the same force and
                     DEPOSITION of the Defendant,
                                                                      18   effect as if signed and sworn to before the
               SOUTHERN GLAZER'S WINE AND SPIRITS OF NEW
               YORK LLC, by a Witness, DINA WALD-MARGOLIS,            19   Court.
               taken by the Plaintiff, pursuant to a                  20
               Agreement and to the Federal Rules of Civil            21
               Procedure, held remotely via Zoom, before              22
               Sandra Sierra, a Notary Public of the State
                                                                      23
               of New York.
                                                                      24
                                                                      25


                                                             Page 2                                          Page 4
           1                                                           1
           2   A P P E A R A N C E S:                                  2        IT IS HEREBY STIPULATED AND AGREED by
           3
           4   MOSER LAW FIRM PC
                                                                       3   and between counsel for all parties present
                Attorneys for the Plaintiff                            4   that this deposition is being conducted by
           5    MARIA SUAREZ                                           5   Videoconference, that the Court Reporter,
                3 School Street, Suite 207B                            6   all counsel, and the witness are all in
           6    Glen Clove, New York 11542
                BY: STEVEN MOSER, ESQ.                                 7   separate remote locations and participating
           7    Smoser@moseremploymentlaw.com                          8   via Videoconference (LegalView/Zoom/WebEx)
           8                                                           9   meeting under the control of Lexitas Court
               CONSTANGY, BROOKS, SMITH & PROPHETE, LLP
                                                                      10   Reporting Service, that the officer
           9    Attorneys for the Defendant
                SOUTHERN GLAZER'S WINE AND SPIRITS                    11   administering the oath to the witness need
          10    OF NEW YORK LLC                                       12   witness shall be sworn in remotely by the
                620 Eighth Avenue, 38th Floor                         13   Court Reporter after confirming the
          11    New York, New York 10018
                BY: ANJANETTE CABRERA, ESQ.                           14   witness's identity, that this
          12    Acabrera@constangy.com                                15   Videoconference will not be recorded in any
          13                                                          16   manner, and that any recording without the
          14         *      *     *                                   17   express written consent of all parties
          15
          16                                                          18   shall be considered unauthorized, in
          17                                                          19   violation of law, and shall not be used for
          18                                                          20   any purpose in this litigation or
          19
          20
                                                                      21   otherwise.
          21                                                          22
          22                                                          23
          23                                                          24
          24
          25                                                          25


                                                                                          1 (Pages 1 to 4)
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Case 2:19-cv-07271-GRB-LGD Document 39-29 Filed 01/03/23 Page 2 of 27 PageID #: 621
                                                                                 November 21, 2022

                                                  Page 5                                             Page 7
            1       IT IS FURTHER STIPULATED that              1            D. WALD-MARGOLIS
            2   exhibits may be marked by the attorney         2   in a case she is bringing against Southern
            3   presenting the exhibit to the witness, and     3   Glazer's Wine and Spirits.
            4   that a copy of any exhibit presented to a      4          I am here to ask some questions
            5   witness shall be emailed to or otherwise in    5   of you today. If you don't understand a
            6   possession of all counsel prior to any         6   question of mine, please don't answer it.
            7   questioning of a witness regarding the         7   Let me know and I will repeat or rephrase
            8   exhibit in question. All parties shall bear    8   it as many times as necessary.
            9   their own costs in the conduct of this         9          If you would like to take a
           10   deposition by Videoconference.                10   break for any reason, please let me know.
           11                                                 11          Do you understand these
           12                                                 12   instructions?
           13       *        *       *                        13       A. Yes.
           14                                                 14       Q. Are you under the influence of
           15                                                 15   any narcotics or medication which would
           16                                                 16   affect your ability to testify truthfully
           17                                                 17   and accurately today?
           18                                                 18       A. No.
           19                                                 19       Q. I don't mean to insult you, but
           20                                                 20   are you under the influence of any alcohol?
           21                                                 21       A. No.
           22                                                 22       Q. Can you think of any reason why
           23                                                 23   you cannot testify truthfully and
           24                                                 24   accurately today?
           25                                                 25       A. No.

                                                  Page 6                                             Page 8
            1            D. WALD-MARGOLIS                      1            D. WALD-MARGOLIS
            2   D I N A W A L D - M A R G O L I S,             2      Q. Have you ever been diagnosed
            3   called as a witness, having been first duly    3   with any memory issues?
            4   sworn by a Notary Public of the State of       4      A. No.
            5   New York, was examined and testified as        5      Q. Do you understand that the oath
            6   follows:                                       6   that you just took to tell the truth is the
            7   EXAMINATION BY                                 7   same oath that you would take in court in
            8   MR. MOSER:                                     8   front of a judge and jury?
            9       Q. Please state your name for the          9      A. Yes.
           10   record.                                       10      Q. Are you represented by counsel
           11       A. Dina Wald-Margolis.                    11   today?
           12       Q. What is your address?                  12      A. Yes.
           13       A. 69-12 166th Street, Fresh              13      Q. Who is representing you?
           14   Meadows, New York 11365.                      14      A. Angie.
           15       Q. Good afternoon, Mrs. Margolis.         15      Q. Okay. By "Angie," you mean
           16   Should I address you as Wald-Margolis or      16   Anjanette Cabrera?
           17   Margolis?                                     17      A. Yes.
           18       A. Wald-Margolis.                         18      Q. Have you received any
           19       Q. Is that Mrs.?                          19   compensation or promise of compensation
           20       A. It is.                                 20   from anyone to testify here today?
           21       Q. Okay.                                  21      A. Just the money that was in the
           22       A. Either one is acceptable.              22   subpoena.
           23       Q. Okay. Good afternoon, Mrs.             23      Q. Have you received any
           24   Wald-Margolis. My name is Steven Moser. I     24   compensation or promise of compensation
           25   am an attorney and I represent Maria Suarez   25   from anyone to testify at trial?

                                                                                 2 (Pages 5 to 8)
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Case 2:19-cv-07271-GRB-LGD Document 39-29 Filed 01/03/23 Page 3 of 27 PageID #: 622
                                                                                 November 21, 2022

                                                  Page 9                                          Page 11
            1            D. WALD-MARGOLIS                      1            D. WALD-MARGOLIS
            2       A. No.                                     2   today?
            3       Q. Are you being compensated for           3       A. Yes.
            4   your time today, other than the witness fee    4       Q. For how long did you speak?
            5   that was included in the subpoena?             5       A. I believe about an hour.
            6       A. No.                                     6       Q. When was that?
            7       Q. Do you have a Facebook profile?         7       A. Friday.
            8       A. Yes.                                    8       Q. When was the first time you
            9       Q. And are you Facebook friends            9   communicated with Counsel regarding this
           10   with any current or former employees of       10   case? Again, I don't want to know what you
           11   Southern Glazer Wine and Spirits?             11   spoke about; that is privileged. I want to
           12       A. Yes.                                   12   know when you spoke with Counsel for the
           13       Q. With whom?                             13   first time.
           14       A. Oh, boy. Michelle Maya, Andrea         14       A. Can you clarify the question?
           15   Melzer, Kim Gordon, Amy Silverberg, Nora      15       Q. Did you speak with Ms. Cabrera
           16   Reyes, Frank Bernitt.                         16   on Friday or somebody else?
           17       Q. What is the last name, please?         17       A. Ms. Cabrera.
           18       A. Bernitt.                               18       Q. Before Friday, did you
           19       Q. Do you know how to spell that?         19   communicate with Ms. Cabrera or with any
           20       A. B-E-R -- B as in boy,                  20   other counsel regarding this case?
           21   E-R-N-I-T-T. And I can't recall if there      21       A. Yes.
           22   is any others.                                22       Q. When for the first time did you
           23       Q. Do you have any business or            23   communicate with Counsel about this case?
           24   personal relation -- other than as Facebook   24       A. When I was notified that I was
           25   friends, do you have any business or          25   going to be called by you.

                                                Page 10                                           Page 12
            1            D. WALD-MARGOLIS                      1           D. WALD-MARGOLIS
            2   personal relationship with any current or      2      Q. Can you approximate the date?
            3   former employees of Southern Glazer's Wine     3      A. September or late August.
            4   and Spirits?                                   4   Early September, mid-September.
            5      A. No.                                      5      Q. Okay. So are you employed now?
            6      Q. Have you ever used your                  6      A. Yes.
            7   Facebook profile to communicate about Maria    7      Q. Where are you employed?
            8   Suarez?                                        8      A. Skyline Windows.
            9      A. No.                                      9      Q. For how long have you been
           10      Q. Have you ever used your                 10   employed by Skyline?
           11   Facebook profile to communicate about your    11      A. About three and three-quarter
           12   employment with Southern Glazer's Wine and    12   years.
           13   Spirits?                                      13      Q. Is there anyone in the room
           14      A. Can you restate the question?           14   with you now?
           15      Q. Have you ever posted anything           15      A. No, no person; my cats are.
           16   about your work at Southern Glazer's Wine     16      Q. Okay. And what do you do for
           17   and Spirits on your Facebook page or          17   Skyline?
           18   profile?                                      18      A. Director of human resources.
           19      A. I don't recall.                         19      Q. Where did you work before
           20      Q. Before testifying today, did            20   Skyline?
           21   you do anything to prepare yourself?          21      A. Logistic Care.
           22      A. I met with Counsel.                     22      Q. And how long did you work for
           23      Q. And I don't want to know about          23   Logistic Care?
           24   what you spoke about with Counsel, but did    24      A. Two and a half years.
           25   you speak with Counsel to prepare for         25      Q. What did you do for Logistic

                                                                               3 (Pages 9 to 12)
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Case 2:19-cv-07271-GRB-LGD Document 39-29 Filed 01/03/23 Page 4 of 27 PageID #: 623
                                                                                 November 21, 2022

                                                Page 13                                           Page 15
            1            D. WALD-MARGOLIS                      1           D. WALD-MARGOLIS
            2   Care?                                          2   11.
            3      A. Regional director of HR.                 3       Q. Bear with me one second.
            4      Q. And as regional director of HR           4           When you were hired in 2005,
            5   for Logistic Care, how many employees were     5   what was your job title?
            6   you responsible for?                           6       A. I believe it was an associate
            7      A. I don't recall.                          7   director of HR.
            8      Q. Is it 10, 15, 100, 1,000?                8       Q. Who did you report to?
            9      A. Less than 1,000; maybe about             9       A. The director of HR.
           10   100 or more.                                  10       Q. Who was it at that time?
           11      Q. How many employees work at              11       A. Oh, boy.
           12   Skyline?                                      12       Q. Was it Beth Toohig or was it
           13      A. Four hundred.                           13   someone else?
           14      Q. Who do you report to at                 14       A. It was someone else.
           15   Skyline?                                      15       Q. At some point, did your title
           16      A. CEO.                                    16   change?
           17      Q. Are you the most senior HR              17       A. Yes.
           18   person at Skyline?                            18       Q. When did it change?
           19      A. Yes.                                    19       A. I don't recall.
           20      Q. Where did you work before               20       Q. What was your new title?
           21   Logistic Care?                                21       A. I don't recall what it changed
           22      A. Southern Glazer's Wine and              22   to. There were various changes.
           23   Spirits.                                      23       Q. Okay. I am going to draw your
           24      Q. For the purposes of today, I am         24   attention to 2010; do you recall what your
           25   going to refer to Southern Wine and Spirits   25   title was in 2010?

                                                Page 14                                           Page 16
            1           D. WALD-MARGOLIS                       1             D. WALD-MARGOLIS
            2   and Southern Glazer's Wine and Spirits as      2       A. I don't recall.
            3   "Southern," do you understand that?            3       Q. How about in 2013?
            4      A. Yes.                                     4       A. I don't recall.
            5      Q. So if I use the term                     5       Q. What was the last title that
            6   "Southern," you will know what I am talking    6   you had at Southern?
            7   about?                                         7       A. Talent acquisition.
            8      A. Yes.                                     8       Q. For how long did you have that
            9      Q. Do you know when the name                9   title, approximately?
           10   changed?                                      10       A. I don't recall.
           11      A. No, I don't.                            11       Q. And do you recall what your
           12      Q. Is it Southern Glazer's Wine            12   duties were in January 2013?
           13   and Spirits today?                            13       A. No, I don't.
           14      A. I have no knowledge.                    14       Q. Did your duties change over the
           15      Q. Okay. When you worked there,            15   course of your employment or did they more
           16   was it Southern Glazer's Wine and Spirits     16   or less remain the same?
           17   or Southern Wine and Spirits?                 17       A. They changed.
           18      A. Southern Wine and Spirits.              18       Q. Describe for me the duties that
           19      Q. And how many years did you work         19   you had when you first started?
           20   for Southern?                                 20       A. I was responsible for
           21      A. I believe 11 or 12 years.               21   establishing and coordinating the HR
           22   2005.                                         22   operation and payroll in the New York
           23      Q. Let's see if we can refresh             23   market.
           24   your recollection.                            24       Q. As talent acquisition, towards
           25      A. I started in January of '05, so         25   the end of your employment, can you


                                                                              4 (Pages 13 to 16)
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Case 2:19-cv-07271-GRB-LGD Document 39-29 Filed 01/03/23 Page 5 of 27 PageID #: 624
                                                                                 November 21, 2022

                                                Page 17                                           Page 19
            1             D. WALD-MARGOLIS                     1            D. WALD-MARGOLIS
            2   describe what your job duties were then?       2      A. No.
            3       A. Coordinating the statewide              3      Q. Okay. You're very articulate.
            4   recruitment for the various positions          4   That is a good thing.
            5   within the New York State market.              5           So did you post any jobs for
            6       Q. When did you last work for              6   any managers in 2016 at the Syosset
            7   Southern again?                                7   facility?
            8       A. June of 2016.                           8      A. No.
            9       Q. As talent acquisition, were you         9      Q. Were any managers hired at the
           10   responsible for hiring in the State of New    10   Syosset facility in 2016?
           11   York?                                         11      A. I don't recall.
           12       A. No.                                    12      Q. Do you recall the name of any
           13       Q. What was your geographic area?         13   manager that you were involved in
           14       A. New York.                              14   recruiting?
           15       Q. Was it the New York Metro? Was         15      A. I don't recall.
           16   it just the Syosset warehouse?                16      Q. Do you know someone by the name
           17       A. State of New York.                     17   of Peter Lazar?
           18       Q. And so that would include              18      A. Not that I am aware of.
           19   Upstate New York?                             19      Q. Are you familiar with the
           20       A. Yes.                                   20   records that are kept by Southern? How it
           21       Q. And it would include all               21   recruits union employees?
           22   locations that were physically in the State   22      A. No, I am not.
           23   of New York?                                  23      Q. How about when you were there?
           24       A. Yes.                                   24   When you were there, were you involved in
           25       Q. Would that also include                25   the recruitment of union employees? When I

                                                Page 18                                           Page 20
            1            D. WALD-MARGOLIS                      1            D. WALD-MARGOLIS
            2   locations in Northern New Jersey?              2   say "recruitment," I mean the hiring,
            3       A. No.                                     3   interviewing, any of that process?
            4       Q. Are you familiar with the               4       A. Can you further explain the
            5   Syosset warehouse?                             5   question?
            6       A. Yes.                                    6       Q. Okay. Can you describe for me
            7       Q. For how long did you work at            7   if you had any role in hiring the union
            8   the Syosset location of Southern?              8   employees when you worked at Southern?
            9       A. For my entire career.                   9       A. I did not make a hiring
           10       Q. Your office was always at              10   decision for unionized employees.
           11   Underhill Boulevard in Syosset?               11       Q. Who made that decision?
           12       A. Yes.                                   12       A. The hiring manager.
           13       Q. Were you involved in the hiring        13       Q. Are you familiar with what
           14   of any managers at the Syosset facility?      14   would be the process to fill a union
           15       A. Can you restate the question?          15   position when you worked for Southern?
           16       Q. Well, what was your role as            16       A. I don't recall.
           17   talent acquisition?                           17       Q. Do you recall anything about
           18       A. It was my responsibility to            18   the process?
           19   coordinate the job vacancies, post for        19       A. There was an electronic system
           20   them, coordinate with the hiring manager      20   that was used to create requisitions and
           21   for the interviews, and then take the         21   post for positions.
           22   direction from the hiring manager regarding   22       Q. What information was stored
           23   the selection of candidate of choice.         23   electronically?
           24       Q. Are you reading from anything          24       A. The job description, shift is
           25   right now?                                    25   what I can recall.

                                                                              5 (Pages 17 to 20)
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Case 2:19-cv-07271-GRB-LGD Document 39-29 Filed 01/03/23 Page 6 of 27 PageID #: 625
                                                                                 November 21, 2022

                                                Page 21                                           Page 23
            1            D. WALD-MARGOLIS                      1            D. WALD-MARGOLIS
            2      Q. Were you involved in the hiring          2       Q. Let's see if we can narrow down
            3   of nonunion employees at the Syosset           3   a time period here. Hold on one second.
            4   employees?                                     4           MR. MOSER: Do we have Exhibit
            5      A. Talent acquisition handled all           5       14 premarked already.
            6   recruitment.                                   6           MS. HOLMS: Let me take a look
            7      Q. Including the recruitment at             7       at that. It has been marked.
            8   the Syosset facility?                          8           MR. MOSER: I would like to
            9      A. Yes.                                     9       present it to the witness.
           10      Q. When you were in talent                 10           MS. HOLMS: Okay. Let me get
           11   acquisition, did Southern keep records of     11       that up.
           12   individuals that were hired?                  12       Q. Mrs. Wald-Margolis, do you see
           13      A. Yes.                                    13   the document on your screen?
           14      Q. Okay. What records were kept            14       A. Yes, I can.
           15   by Southern when you were working there       15           MR. MOSER: Okay. And does she
           16   regarding the hiring process?                 16       have the ability to scroll through
           17      A. The information was on their            17       this on her own or should she have
           18   recruiting profile platform.                  18       the ability to scroll through it on
           19      Q. What was the name of the                19       her own?
           20   platform?                                     20           MS. HOLMS: No. Do you want me
           21      A. To the best of my recollection,         21       to scroll through?
           22   I believe it was called "Tolleya"             22           MR. MOSER: Okay. Let's do
           23   (phonetic).                                   23       this. Let's mark it as Exhibit 14,
           24      Q. Are you very familiar with that         24       and then she can take some time to
           25   system?                                       25       look at it. Let's go off the record

                                                Page 22                                           Page 24
            1            D. WALD-MARGOLIS                      1             D. WALD-MARGOLIS
            2       A. Not now.                                2       for a second.
            3       Q. For how many years did you work         3           (Whereupon, an off-the-record
            4   on that system when you worked at Southern?    4       discussion was held.)
            5       A. From when they implemented it.          5       Q. Mrs. Wald-Margolis, would you
            6       Q. Do you recall approximately             6   like some time to take a look at this
            7   when they implemented it?                      7   document?
            8       A. I do not.                               8       A. I have seen the first page.
            9       Q. Who did you report to as -- in          9           MR. MOSER: Okay. So why don't
           10   talent acquisition?                           10       we go back and let her look at each
           11       A. Beth Toohig.                           11       page until she has fairly reviewed
           12       Q. That is T-O-O-H-I-G?                   12       it.
           13       A. Yes.                                   13       Q. The ball is in your court, Mrs.
           14       Q. For how long was Beth Toohig           14   Wald-Margolis. You can instruct the person
           15   your supervisor?                              15   to scroll up or down.
           16       A. I don't recall.                        16           THE WITNESS: Can you scroll to
           17       Q. Can you approximate?                   17       the next page, please?
           18       A. I have no idea when she                18           MS. HOLMS: Absolutely.
           19   started.                                      19           THE WITNESS: I am sorry, can
           20       Q. Do you know how many years she         20       you please make that bigger. Thank
           21   worked at Southern?                           21       you. Next page, please. Next page,
           22       A. No.                                    22       please. If you scroll down, please.
           23       Q. Have you spoken with any               23       Next page, please. Next page,
           24   Southern employees about this case?           24       please. I am sorry, if you can go up
           25       A. No.                                    25       a little. Okay, thank you. I just


                                                                              6 (Pages 21 to 24)
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Case 2:19-cv-07271-GRB-LGD Document 39-29 Filed 01/03/23 Page 7 of 27 PageID #: 626
                                                                               November 21, 2022

                                              Page 25                                           Page 27
            1            D. WALD-MARGOLIS                   1            D. WALD-MARGOLIS
            2       didn't get to see that piece. Okay,     2       Steve. I need -- we need to go off
            3       full scroll down, please. Next page,    3       the record for one moment. Can I
            4       please. Next page, please. Next         4       take two minutes.
            5       page, please. Thank you.                5          MR. MOSER: Okay.
            6      Q. Okay. Mrs. Wald-Margolis, do          6          MS. CABRERA: I apologize.
            7   you know what this document is?             7          (Whereupon, a brief break was
            8      A. It appears to be the                  8       taken.)
            9   requisition form.                           9      Q. So Mrs. Wald-Margolis, while
           10      Q. For whom?                            10   you were on break, did you communicate via
           11      A. I noted that the candidate's         11   text message or any other means with
           12   name was Maria Suarez.                     12   Counsel?
           13      Q. Can you tell from looking at         13      A. No.
           14   this document --                           14      Q. And if we look at the far right
           15          MR. MOSER: Can I scroll             15   column where it has your name, do you know
           16       through it? I can scroll through it,   16   what that means?
           17       right? So, let's go down to the last   17      A. I don't recall.
           18       page, okay.                            18      Q. So you don't remember if this
           19      Q. Can you tell from looking at         19   was intended to record actions that you
           20   this when Maria Suarez began the           20   took?
           21   application process?                       21      A. I don't recall the Tolleya
           22      A. The date listed is March 3rd,        22   system.
           23   2016.                                      23      Q. And looking at this, do you
           24      Q. Do you know when this job was        24   know whether this records actions that you
           25   posted?                                    25   took?

                                              Page 26                                           Page 28
            1             D. WALD-MARGOLIS                  1            D. WALD-MARGOLIS
            2      A. I do not.                             2      A. I don't know.
            3      Q. Would that be contained on            3          MR. MOSER: Okay. If you could
            4   another type of form?                       4       keep scrolling up.
            5      A. I don't know.                         5      Q. Okay. So you don't remember
            6           MR. MOSER: Okay. If you could       6   what any of the notations on this document
            7       just please scroll up. Go back down     7   mean and in that spreadsheet in which there
            8       a little. Go all the way to the         8   were columns and your name was on the right
            9       bottom. We are going to work our way    9   side?
           10       up. There we go. Hold on, one more     10      A. That's correct.
           11       page down. Okay, good.                 11      Q. For how long did you use the
           12      Q. So when we see this notation on      12   Tolleya system?
           13   *SGWS-1645 "Status changed to meet basic   13      A. I don't recall.
           14   qualifications."                           14      Q. Did you use it for more than a
           15           Do you see that?                   15   year?
           16      A. Thank you for showing that. I        16      A. I don't recall.
           17   see what you're speaking of.               17      Q. Do you know, can you give me
           18      Q. To the right of that, it has         18   any approximation when they implemented it?
           19   your name, right?                          19      A. I have no recollection of when
           20      A. Yes, my name is listed.              20   they implemented it.
           21      Q. Can you tell me what this            21          MR. MOSER: So let's move on to
           22   information means?                         22       the next -- let me see something
           23      A. I don't recall.                      23       here. Bear with me a second.
           24      Q. Okay.                                24          Let's present the witness with
           25           MS. CABRERA: I am sorry,           25       the document to be marked 15.


                                                                           7 (Pages 25 to 28)
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Case 2:19-cv-07271-GRB-LGD Document 39-29 Filed 01/03/23 Page 8 of 27 PageID #: 627
                                                                             November 21, 2022

                                             Page 29                                          Page 31
            1            D. WALD-MARGOLIS                  1             D. WALD-MARGOLIS
            2      Q. Mrs. Wald-Margolis, do you           2       A. I am sorry, there is a
            3   recognize this document?                   3   feedback. There is somebody that has an
            4      A. No.                                  4   echo. It's very hard to hear.
            5      Q. Do you know what any of the          5            MS. CABRERA: Steve, do you
            6   information on this document means?        6        have a cell phone next to your
            7      A. Looks like it's the requisition      7        computer because sometimes that
            8   report.                                    8        interferes. But, yeah, I hear it.
            9      Q. For what?                            9            THE REPORTER: I hear it, too.
           10      A. Whatever the title of the           10            MS. CABRERA: It went away.
           11   position is.                              11       Q. So, Mrs. Wald-Margolis, do you
           12           MR. MOSER: Okay. So if we go      12   remember who Kevin Randall was?
           13       back to the first page.               13       A. He was in the operations role.
           14      Q. Do you know what this first         14       Q. Can you be more specific?
           15   line means, "Requisition filled"?         15       A. I don't recall his exact title,
           16      A. Means that the requisition or       16   if it was director or manager, but he was
           17   the position has been filled.             17   on the operations side.
           18      Q. And what was the process for        18            MR. MOSER: Okay. Let's close
           19   creating a requisition in Southern?       19        this out. And let's go to -- let me
           20      A. I don't recall.                     20        see here.
           21      Q. How many requisitions did you       21       Q. Do you know who Tanisha Durant
           22   create when you were at Southern?         22   is?
           23      A. I don't recall.                     23       A. I don't recall.
           24      Q. Was it more than one?               24       Q. Do you remember the name
           25      A. Yes.                                25   Tanisha Durant?

                                             Page 30                                          Page 32
            1           D. WALD-MARGOLIS                   1            D. WALD-MARGOLIS
            2       Q. Was it more than 100?               2      A. It sounds familiar.
            3       A. I don't recall.                     3      Q. Okay. Other than the name
            4       Q. Can you give me any approximate     4   sounding familiar, you can't describe for
            5   whatsoever of how many requisitions you    5   me who that is or give it any context?
            6   created?                                   6      A. No, I cannot.
            7       A. I can't.                            7          MR. MOSER: Let's go to -- what
            8       Q. Is that something that Southern     8       exhibit number are we up to now? We
            9   would have?                                9       should be up to 16, correct?
           10       A. I don't know.                      10          MS. HOLMS: 16 would be the
           11          MR. MOSER: Okay. Let's go          11       next exhibit.
           12       down.                                 12          MR. MOSER: 16.
           13       Q. Have you ever seen this            13          MS. HOLMS: 16 would be the
           14   document before today?                    14       next exhibit.
           15       A. I am sorry. There is a             15          MR. MOSER: Let's go to what
           16   feedback.                                 16       will be marked 19. This is a
           17       Q. Okay. Let me repeat it.            17       document that is Bates-stamped from
           18          Have you seen this document        18       prior litigation SWS-000240 to -- I
           19   before today?                             19       will tell you the last page --
           20       A. I don't recall.                    20       SWS-000266.
           21       Q. Do you know who Kevin Randall      21      Q. Mrs. Wald-Margolis, do you
           22   is?                                       22   recognize the first page of this document?
           23       A. I recall his name.                 23          THE WITNESS: Can it be made
           24       Q. And other than recalling his       24       bigger? Please? Thank you.
           25   name, do you recall anything else?        25      A. Yes, I recall it.

                                                                         8 (Pages 29 to 32)
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Case 2:19-cv-07271-GRB-LGD Document 39-29 Filed 01/03/23 Page 9 of 27 PageID #: 628
                                                                                  November 21, 2022

                                                Page 33                                            Page 35
            1             D. WALD-MARGOLIS                     1            D. WALD-MARGOLIS
            2       Q. Okay. What is this?                     2   Maria Suarez?
            3       A. This is a printout of an e-mail         3      A. Yes. The "To" and "From" is
            4   chain communication.                           4   from me to Maria.
            5       Q. And does that e-mail chain end          5      Q. Okay. And did John Wilkinson
            6   at SWS-240?                                    6   forward Maria's e-mail to you?
            7       A. I can't tell you where it ends.         7          THE WITNESS: Can the e-mail
            8   If that's the document that you are showing    8       chain be scrolled down? Thank you.
            9   me, yes, that does say 240 at the end.         9      A. As noted in the document, it
           10       Q. If we look at SWS-240, is this         10   was.
           11   an e-mail that was sent from Maria Suarez     11      Q. Okay. And is it fair to say
           12   to John Wilkinson?                            12   that he forwarded this to you at 1:01 p.m.?
           13           THE WITNESS: Thank you for            13      A. As noted on the document, 1:01
           14        enlarging that.                          14   p.m. is showing.
           15       A. This is a document of various          15      Q. And when did you respond?
           16   e-mail communications.                        16      A. As noted on the document,
           17       Q. The one on the bottom that was         17   Thursday, May 2nd, 2013, 1:30 p.m.
           18   sent on Thursday, May 2nd, 2013, is this an   18      Q. Did you send this e-mail?
           19   e-mail that was sent from Maria Suarez to     19      A. As noted in the e-mail, I am in
           20   John Wilkinson?                               20   the "From."
           21       A. Can you clarify the timing of          21      Q. Okay. Did you send the e-mail?
           22   the e-mail?                                   22      A. As noted, that's my name.
           23       Q. Well, it says here it was sent         23      Q. Okay. Did you type this
           24   on Thursday, May 2nd of 2013 at 11:37 a.m.    24   information?
           25   I am talking about that section of e-mail     25      A. Yes.

                                                Page 34                                            Page 36
            1            D. WALD-MARGOLIS                      1            D. WALD-MARGOLIS
            2   chain. Was that e-mail sent from Maria         2       Q. Okay. And I am going to read
            3   Suarez to John Wilkinson?                      3   this into the record. This is your e-mail
            4       A. The e-mail on the screen is not         4   from you to Maria Suarez dated May 2nd,
            5   11:37.                                         5   2013. It says here: "Thank you for
            6           MS. HOLMS: I need to scroll            6   bringing this to our attention. Allow me
            7       down to page 2.                            7   to clarify how the employees are
            8           MR. MOSER: Yes, it's the               8   classified. All of them have the title of
            9       second page.                               9   inventory control clerk assigned to the
           10       A. Can you please repeat your             10   warehouse days department. The subcategory
           11   question?                                     11   seems to be different for three out of the
           12       Q. Yes. This first step in the            12   four employees. There are various reasons
           13   chain, is this an e-mail that was sent from   13   why this may have happened, none of which I
           14   Maria to John Wilkinson?                      14   guarantee you was based on gender."
           15       A. As noted in the "To" and               15           How were you able to guarantee
           16   "From," it was from Maria to John.            16   that the classification was not based upon
           17       Q. And then if we move up the next        17   gender at approximately 1:30 p.m.?
           18   step in the chain, is that an e-mail from     18       A. Because no acts of
           19   you to Maria Suarez?                          19   discriminatory practices were done.
           20       A. Can you please clarify your            20       Q. So there was never any
           21   questions?                                    21   discrimination at Southern?
           22       Q. If we look at SWS-240 at the           22       A. Based upon the classification
           23   bottom half of the page, and this is dated    23   in this e-mail, no.
           24   Thursday, May 2nd, 2013, at 1:30 p.m., is     24       Q. And can you be more specific as
           25   this an e-mail that was sent from you to      25   to how you were able to guarantee that this


                                                                              9 (Pages 33 to 36)
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Case 2:19-cv-07271-GRB-LGD Document 39-29 Filed 01/03/23 Page 10 of 27 PageID #: 629
                                                                                  November 21, 2022

                                                Page 37                                            Page 39
            1            D. WALD-MARGOLIS                      1             D. WALD-MARGOLIS
            2   was not based upon gender?                     2   Suarez to you?
            3      A. I can't recall the specifics.            3       A. Yes. As noted, it was from
            4      Q. Okay. But for whatever reason,           4   Maria to me.
            5   you were able to guarantee it, correct?        5       Q. When you received this e-mail,
            6      A. Correct.                                 6   was it your understanding that Maria Suarez
            7      Q. Okay. That's before you                  7   had communicated with her subordinates
            8   conducted any investigation; is that           8   regarding alleged discrimination?
            9   correct?                                       9           MS. CABRERA: Objection to the
           10          MS. CABRERA: Objection to the          10        form of the question.
           11       form of the question.                     11           You can answer.
           12      Q. At the time you sent this               12           THE WITNESS: Yes. I am just
           13   e-mail at 1:30 p.m., had you conducted any    13        rereading the e-mail.
           14   information into the claims that were made?   14       A. Can you repeat your question,
           15      A. I don't recall.                         15   please?
           16      Q. Do you recall whether you               16       Q. Was it your understanding, when
           17   looked up any information for any of these    17   you received this e-mail from Maria Suarez
           18   employees before responding?                  18   at 1:54 p.m., that she had discussed the
           19      A. I don't recall.                         19   different classification with her
           20      Q. In your opinion, did Southern           20   employees?
           21   Wine and Spirits take claims of               21       A. I can't recall what Maria spoke
           22   discrimination seriously?                     22   to her staff.
           23      A. Yes.                                    23       Q. Did you understand she had --
           24      Q. And in your opinion, did                24   at least that she had spoken to her staff
           25   Southern Wine and Spirits thoroughly          25   about this particular topic?

                                                Page 38                                            Page 40
            1              D. WALD-MARGOLIS                    1            D. WALD-MARGOLIS
            2    investigate any claim of discrimination?      2       A. Yes. Based upon her e-mail,
            3        A. Can you be more specific?              3   she said she spoke to her team about the
            4        Q. Well, was there a process to be        4   topic.
            5    filed if a claim of discrimination was        5       Q. If we look at May 2nd, 2013, at
            6    made?                                         6   2:33 p.m., you respond to her: "Sure,
            7        A. I believe there was.                   7   please let me know how this came about so I
            8        Q. What was that process?                 8   can address all aspects."
            9        A. To the best of my recollection,        9           What did you mean by that
           10    it would be reported through HR and/or to    10   question?
           11    corporate and then investigated.             11       A. Maria presented to John a
           12        Q. And how would it be                   12   statement of information, which I needed to
           13    investigated?                                13   gain a better understanding as to what she
           14        A. By whoever was designated to          14   was speaking of to understand, as I noted
           15    investigate it.                              15   in the e-mail, all of the aspects to be
           16        Q. Were you designated to                16   able to meet with her team and address it.
           17    investigate this particular complaint?       17       Q. Okay. So what did you need to
           18        A. Yes.                                  18   know? When you say "how this came about,"
           19        Q. Do you recall when you began          19   what are you referring to?
           20    your investigation?                          20       A. The allegation that Maria
           21        A. I don't recall.                       21   presented.
           22            MR. MOSER: Let's look at the         22       Q. So you wanted to know how --
           23        next chain in the e-mail from May        23   can you be more specific as to what you
           24        2nd, 2013, at 1:54 p.m.                  24   were asking for?
           25        Q. Is that an e-mail from Maria          25       A. To understand what Maria was


                                                                            10 (Pages 37 to 40)
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Case 2:19-cv-07271-GRB-LGD Document 39-29 Filed 01/03/23 Page 11 of 27 PageID #: 630
                                                                                  November 21, 2022

                                                Page 41                                            Page 43
            1            D. WALD-MARGOLIS                      1            D. WALD-MARGOLIS
            2   looking at, see from her side what she was     2   read out loud, starting from the top
            3   speaking of, and what had been communicated    3   because, again, I think I can decipher what
            4   to her team to then be able to speak with      4   it means, but it would be better to be read
            5   them.                                          5   from the person who actually wrote it.
            6      Q. Okay. So at least in part, you           6       A. If you can make it a little
            7   wanted to know what Maria told her             7   smaller because the screen of pictures...
            8   subordinates; is that fair to say?             8       Q. Okay. Is that too small? Is
            9      A. Correct.                                 9   that okay?
           10      Q. And why did you want to know            10       A. That should be okay.
           11   what Maria told her subordinates?             11           "5/16" -- excuse me, "5/6/15,
           12      A. That is what goes into the              12   Dina, Tatiana, Ena, and Josie, rates of pay
           13   course of an investigation.                   13   within the departments S/B" -- for "should
           14      Q. Did she ever tell you what she          14   be" -- "part of warehouse. Can't get top
           15   had told her subordinates?                    15   pay. Ena and Tatiana S/B" -- should be --
           16      A. I don't recall.                         16   "making more money. Feel that has" -- can
           17      Q. Do you have any knowledge today         17   you move the cursor?
           18   what she told her subordinates?               18       Q. Okay.
           19      A. I don't recall.                         19       A. Thank you. "Minority/women.
           20           MR. MOSER: Let's bring up --          20   Justin being paid more. How can Justin be
           21      A. Before we bring that up, may I          21   classified as WHSE" -- for "warehouse" --
           22   have a moment, please.                        22   "if he was last one hired. Had worked 40
           23      Q. Sure. Take your time. Do you            23   hours as nonunion and decreased to 35 hours
           24   need a minute?                                24   with union and without compensation for
           25      A. Like a couple moments to get            25   lost hours. Ronnie was their contact who

                                                Page 42                                            Page 44
            1            D. WALD-MARGOLIS                      1            D. WALD-MARGOLIS
            2   some water.                                    2   said medical insurance (free with union)
            3       Q. Okay.                                   3   was the compensation equivalent. Ronnie
            4           MS. CABRERA: Let's take a              4   told them he spoke with management and
            5       ten-minute break now. Steven, we           5   management denied compensation for loss of
            6       will be back in ten minutes.               6   hours due to cost factor" -- if you will
            7           MR. MOSER: Fine.                       7   kindly scroll up. Thank you.
            8           (Whereupon, a brief break was          8          "Spoke with Frank from union.
            9       taken.)                                    9   He said they would have to go tonight and
           10           MR. MOSER: Sandra and Pamela,         10   throw cases. How can union say that. Who
           11       is there a way for me to manipulate       11   would do their job. They trained Justin so
           12       separately a document and show it to      12   why he's making more. Inventory job
           13       the witness?                              13   description was given to HR while ago."
           14           MS. HOLMS: If I can hand over         14      Q. Okay. Are these notes of a
           15       sharing to you. Now you can screen        15   meeting you had with them?
           16       share.                                    16      A. Yes.
           17           MR. MOSER: Okay.                      17      Q. Was this an in-person meeting?
           18       Q. I am scrolling to the page that        18      A. Yes.
           19   is Bates-stamped SWS-00242 of Exhibit 16.     19      Q. Do you recognize the
           20           Do you recognize the                  20   handwriting on this document?
           21   handwriting on this document?                 21          MR. MOSER: And this is, just
           22       A. Yes.                                   22       for the record, this is page
           23       Q. Whose handwriting is it?               23       Bates-stamped SWS-00243.
           24       A. It's mine.                             24      A. Yes. I recognize the
           25       Q. Okay. And can you just please          25   handwriting.


                                                                            11 (Pages 41 to 44)
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Case 2:19-cv-07271-GRB-LGD Document 39-29 Filed 01/03/23 Page 12 of 27 PageID #: 631
                                                                                   November 21, 2022

                                                 Page 45                                            Page 47
            1             D. WALD-MARGOLIS                      1            D. WALD-MARGOLIS
            2        Q. Is that your handwriting?               2   between Local 1 and Southern Glazer's Wine
            3        A. Yes, it is.                             3   and Southern Wine and Spirits at the time
            4        Q. Is this a document that you             4   this document was created, were there two
            5    created?                                       5   classifications of employees?
            6        A. I don't know who created the            6       A. I don't know when this document
            7    document.                                      7   was created.
            8        Q. You don't recall if you created         8       Q. So let's go back to 5/14/13.
            9    it or somebody else did?                       9       A. Those are the dates of my
           10        A. That's correct.                        10   notes.
           11        Q. Okay. If you were responsible          11       Q. Yes. On the dates that your
           12    for investigating it, should you have been    12   notes were created, were there two broad
           13    the one to prepare this information?          13   classifications of employees in Local 1?
           14        A. Can you restate your question?         14       A. Yes. Within the collective
           15        Q. Well, typically, if you were           15   bargaining agreement.
           16    the one conducting the investigation into     16       Q. And those classifications were
           17    the allegations, would you also be the one    17   clerical and warehouse, correct?
           18    preparing documents relating to it?           18       A. Correct.
           19        A. If this was the document that          19       Q. This *WCCC text does not refer
           20    was provided by Maria to me in the course     20   to their classification under the
           21    of investigation, then, no, I wouldn't have   21   collective bargaining agreement?
           22    prepared it.                                  22       A. Correct; it does not.
           23        Q. Do you know whether this was           23       Q. And how do you know that?
           24    prepared by Maria or someone else?            24       A. Because it's called Workers'
           25        A. I don't recall.                        25   Compensation and related to the billing for

                                                 Page 46                                            Page 48
            1             D. WALD-MARGOLIS                      1            D. WALD-MARGOLIS
            2      Q. And if you could please read              2   Workers' Compensation.
            3   into the record your handwriting?               3      Q. Were there any other underlying
            4      A. If you could kindly shrink it             4   documents that would have been used or
            5   just a little bit.                              5   could have been used to create this
            6      Q. Okay.                                     6   document?
            7      A. Thank you. "5/14/13, reviewed             7      A. I don't know the origin of that
            8   with Beth, approved to respond with             8   document.
            9   information on WC" -- standing for              9      Q. Did you ever review any
           10   "Workers' Comp text" -- "if Catherine          10   underlying documents to verify where this
           11   confirms this was issue we discovered in       11   WCCC text column came from?
           12   the winter. Not a corp issue, look into        12      A. Yes.
           13   wages. 5/15/13 Catherine confirmed WC" --      13      Q. What did you review?
           14   for "Workers' Compensation" -- "text would     14      A. As noted in my notes, Catherine
           15   be part of the OSHA review being done by       15   was the CFO. That's Catherine Spend was
           16   Mike Muñoz."                                   16   the CFO. We identified across the board
           17      Q. What does Workers' Compensation          17   that there were various issues with
           18   text or WC text refer to?                      18   misclassifications even as noted on the WCC
           19      A. As noted in the last column of           19   text. You will see it says "Upstate" and
           20   the document on the far right, that is the     20   these were not Upstate New York employees.
           21   Workers' Comp text. That is the Workers'       21      Q. Did you personally review the
           22   Compensation for Workers' Compensation         22   underlying records to determine whether or
           23   Insurance classification of a position.        23   not these were actually the Workers'
           24      Q. And under the collective                 24   Compensation classifications?
           25   bargaining agreement that was in effect        25      A. No.


                                                                             12 (Pages 45 to 48)
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Case 2:19-cv-07271-GRB-LGD Document 39-29 Filed 01/03/23 Page 13 of 27 PageID #: 632
                                                                                  November 21, 2022

                                                Page 49                                            Page 51
            1            D. WALD-MARGOLIS                      1           D. WALD-MARGOLIS
            2      Q. Where did you get the                    2   across the country.
            3   information that these were actually           3      Q. So the time sheets, right, that
            4   Workers' Compensation classifications and      4   Maria was looking at, do they have Workers'
            5   did not relate to classifications under the    5   Compensation classifications on them?
            6   collective bargaining agreement?               6      A. I don't recall.
            7      A. This was -- as noted in the              7      Q. Were you involved in processing
            8   notes that this was part of the --             8   payroll?
            9   Catherine confirmed this was the issue that    9      A. I was not.
           10   was discovered over the winter. There were    10      Q. Were you ever involved in
           11   various classification issues that impacted   11   processing payroll?
           12   the Workers' Compensation classifications,    12      A. I was not.
           13   which impacted the insurance, which was       13      Q. How many different pay stubs
           14   going to be corrected in a one-time deal in   14   did you have the opportunity to review when
           15   January.                                      15   you were at Southern?
           16           MR. MOSER: And so can you read        16      A. None.
           17       back the question for the witness.        17      Q. Okay. Did you get pay stubs
           18           (Whereupon, the referred to           18   for yourself?
           19       question was read back by the             19      A. I am sure I did.
           20       Reporter.)                                20      Q. Did your pay stubs have your
           21      A. So what's the question?                 21   Workers' Compensation classification on
           22      Q. Where did you get the                   22   them?
           23   information that these classifications        23      A. I don't recall.
           24   refer to Workers' Compensation and not the    24      Q. Okay. So you don't know if any
           25   collective bargaining agreement?              25   of your pay stubs had your Workers'

                                                Page 50                                            Page 52
            1            D. WALD-MARGOLIS                      1            D. WALD-MARGOLIS
            2      A. Because this has nothing to do           2   Compensation classification on them?
            3   with the collective bargaining agreement.      3       A. I don't recall what my pay
            4   This was a corporate issue of                  4   stubs looked like.
            5   misclassifications within the position         5       Q. So the information could have
            6   characteristics.                               6   been there; it could not have been there;
            7      Q. Did you get that information             7   we don't know. Is that fair to say?
            8   verbally from Catherine?                       8       A. I don't know what was there,
            9      A. This was a -- yes, from --               9   so...
           10   verbally from Catherine, and it was known     10       Q. You're not saying that it
           11   across the board to all of Southern's HR      11   wasn't on there, you're saying you don't
           12   and finance team.                             12   know if it was on there; is that correct?
           13      Q. But in this particular                  13       A. Correct.
           14   instance, the only information that you had   14       Q. I am going to draw your
           15   that this particular classification related   15   attention to SWS-244 and 245. If we look
           16   to Workers' Compensation and not the          16   at 244, is this an e-mail from you to
           17   collective bargaining agreement was the       17   Josienne, Ena Scott, and Tatiana Herdozia.
           18   document itself and something verbal that     18       A. Can you clarify the date and
           19   you got from Catherine; is that correct?      19   time --
           20           MS. CABRERA: Objection to the         20       Q. Sure.
           21       form of the question.                     21       A. -- of the e-mail?
           22      A. The issues regarding errors in          22       Q. I am looking at an e-mail --
           23   classifications for positions, Workers'       23   for clarification SWS-244 -- an e-mail
           24   Comp, and location as noted Upstate, when     24   dated May 15, 2013, at 7:03 p.m.
           25   these were not Upstate positions, was known   25           Did you send this e-mail to

                                                                            13 (Pages 49 to 52)
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Case 2:19-cv-07271-GRB-LGD Document 39-29 Filed 01/03/23 Page 14 of 27 PageID #: 633
                                                                                 November 21, 2022

                                                Page 53                                            Page 55
            1             D. WALD-MARGOLIS                     1           D. WALD-MARGOLIS
            2    Josienne Sajous, Ena Scott, and Tatiana       2      A. That is a cut and paste from
            3    Herdozia?                                     3   the report.
            4        A. Yes. As noted, it was from me          4      Q. Is the report an Excel
            5    to Josienne, Ena, and Tatiana.                5   spreadsheet?
            6        Q. This was with regard to the            6      A. To the best of my recollection,
            7    concerns they raised at the May 6th           7   yes.
            8    meeting?                                      8      Q. As of the time that you wrote
            9        A. Allow me the opportunity to            9   this e-mail, did you believe that there was
           10    read it so I understand it.                  10   any discrimination against women in the
           11        Q. Sure.                                 11   warehouse classification?
           12        A. I can't confirm this was in           12      A. No.
           13    response to the, I believe you said, May     13      Q. At the time that you wrote this
           14    6th meeting.                                 14   e-mail, had you reviewed any documents
           15        Q. Well, when we look at the             15   other than the report that you ran?
           16    subject --                                   16      A. I don't recall.
           17        A. Yes, I am sorry. Yes. Sorry.          17      Q. As of this day, did you find
           18    That is correct. The subject line says       18   any information which would suggest that
           19    "May 6th meeting."                           19   Justin Veigh was actually hired as a
           20        Q. Okay. When we look at the             20   warehouseman under the collective
           21    spreadsheet that is here, how did you        21   bargaining agreement?
           22    create this spreadsheet?                     22      A. I don't recall.
           23        A. I don't recall.                       23      Q. If you had found evidence that
           24        Q. You ran a report from the             24   he was actually classified a warehouseman,
           25    system. Did you ever make a printout of      25   would you have included it in this e-mail?

                                                Page 54                                            Page 56
            1            D. WALD-MARGOLIS                      1            D. WALD-MARGOLIS
            2   that actual report from the system itself?     2       A. Any findings that would be
            3      A. This would be the report from            3   relative to this investigation or response
            4   the system.                                    4   would have been communicated.
            5      Q. Did you type this into a                 5           MR. MOSER: Could you read back
            6   document or is this an actual report?          6       the question, please.
            7      A. This was from an actual report.          7           (Whereupon, the referred to
            8      Q. I know it was from an actual             8       question was read back by the
            9   report. Is this the actual report or is        9       Reporter.)
           10   this information that was compiled from the   10       A. If he was, but he wasn't.
           11   actual report?                                11       Q. Okay. So as of the date that
           12      A. This is the report.                     12   you sent it, you did not find any evidence
           13      Q. Okay. And there is no heading           13   that he was actually classified as a
           14   on it. There is no -- there is no -- it's     14   warehouseman under the collective
           15   just -- when you print the report, it shows   15   bargaining agreement. Is that fair to say?
           16   up just like this?                            16       A. Sorry, can you repeat that?
           17      A. This was from the report that           17       Q. As of the date that you sent
           18   was generated.                                18   this e-mail, is it fair to say that you had
           19      Q. My question is: This is the             19   not found any evidence that Justin Veigh
           20   report itself when you printed out -- did     20   was actually hired as a warehouseman under
           21   you print out the report?                     21   the terms of the collective bargaining
           22      A. I don't know if I printed the           22   agreement?
           23   report.                                       23       A. Yes.
           24      Q. Is this the way the report              24       Q. Okay. Let's move down to
           25   looks when you ran it?                        25   SWS-249.


                                                                            14 (Pages 53 to 56)
                                        Lexitas Court Reporting
                                              800-678-0166
Case 2:19-cv-07271-GRB-LGD Document 39-29 Filed 01/03/23 Page 15 of 27 PageID #: 634
                                                                                 November 21, 2022

                                                Page 57                                           Page 59
            1             D. WALD-MARGOLIS                     1            D. WALD-MARGOLIS
            2            Is this an e-mail chain between       2       A. It's their statement. They
            3    you and Ena Scott and Tatiana Herdozia?       3   started at time of adjustment.
            4       A. Yes, it is.                             4       Q. Okay. Thank you. Let's look
            5       Q. Okay. Is this your                      5   at SWS-251.
            6    handwriting?                                  6          Is this an e-mail from you to
            7       A. Yes, it is.                             7   Josienne Sajous?
            8       Q. Can you please read your                8       A. Can you confirm the dates?
            9    handwriting into the record?                  9       Q. Dated June 3, 2013.
           10       A. "Confirmed with Beth okay to           10       A. And the time?
           11    meet with them. Agreed that Muñoz to         11       Q. At 5:10 p.m.
           12    conduct job analysis to determine if         12       A. Yes. As noted, it is from me
           13    position warehouse or clerical."             13   to Josienne.
           14       Q. And what did you mean by this          14       Q. Is this in response to an
           15    note?                                        15   e-mail that you received from Josienne
           16       A. Muñoz is referencing Michael           16   Sajous on Monday June 3, 2013, at 11:07
           17    Muñoz, who is the director of safety who     17   a.m.?
           18    handles Workers' Compensation                18       A. I am sorry, if you start just
           19    classifications.                             19   in one location and either go slowly up or
           20       Q. This review that Mr. Muñoz             20   go down so I can track it, please.
           21    would have been doing would have been        21       Q. That e-mail that you sent was
           22    solely with regard to the Workers'           22   responding to an e-mail from Josienne
           23    Compensation classification, correct?        23   Sajous on Monday, June 3rd, 2013, at 11:07
           24       A. Correct.                               24   a.m.?
           25       Q. And let's go to SWS-250.               25       A. If you can scroll down, so I

                                                Page 58                                           Page 60
            1            D. WALD-MARGOLIS                      1            D. WALD-MARGOLIS
            2           Is this your handwriting?              2   can confirm that is the first or the last
            3      A. Yes, it is.                              3   of the pages. Okay, if you will scroll up,
            4      Q. Could you please read that into          4   please.
            5   the record?                                    5       Q. Sure.
            6      A. "May 30th, 2013, Tatiana and             6       A. Can you scroll up, please.
            7   Ena, 2:10 to 2:40, status of breaks. Told      7       Q. Sure.
            8   AO" -- meaning "as of" -- "12/2008, they       8       A. So, yes, the 5/10 e-mail is the
            9   were part of the union and Justin was hired    9   response to the e-mail she had sent.
           10   in winter of 2009. First annual increase      10       Q. Let's go down to SWS-000258.
           11   11/2009, which is why everyone at same        11          Could you tell me what this
           12   rate. They started at time of adjustment      12   document is?
           13   in 2010. Justin was included in the           13       A. We are all looking at the same
           14   increase to account for the change from 35    14   e-mail. This is an e-mail from me to
           15   hours to 40 hours and since he was hired      15   Josienne on Wednesday, June 19, 2019, at
           16   after being unionized, he shouldn't have      16   9:13 a.m.
           17   received increase. Thankful for Muñoz'        17       Q. And were you responding to an
           18   reviewing job function with them and fast     18   e-mail from her?
           19   response. Should have spoken with DJM" --     19       A. Can you scroll up, please.
           20   standing for "Dina J. Margolis" -- "a long    20   Yes, it has the same subject line.
           21   time ago and not listened to Ronnie."         21       Q. Now, she says here, "I want to
           22      Q. When we look at the middle of           22   be classified as warehouse and earn
           23   the page, there is a star there. Is that      23   warehouse pay."
           24   information that you relate to them or is     24          Do you know what she means by
           25   that information that they relate to you?     25   that?

                                                                            15 (Pages 57 to 60)
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                                              800-678-0166
Case 2:19-cv-07271-GRB-LGD Document 39-29 Filed 01/03/23 Page 16 of 27 PageID #: 635
                                                                                  November 21, 2022

                                                Page 61                                            Page 63
            1            D. WALD-MARGOLIS                      1            D. WALD-MARGOLIS
            2      A. I don't recall.                          2      Q. Okay. Just tell me when you
            3      Q. Is warehouse different than              3   want me to scroll down?
            4   clerical pay under the CBA?                    4      A. Scroll, please.
            5      A. I don't recall.                          5          Can you repeat your questions,
            6      Q. And when you responded to this           6   please?
            7   e-mail on June 19, 2013, had you done any      7      Q. As of the date you wrote this
            8   research into whether or not these             8   report, had you found any evidence to
            9   particular women -- when I say "these          9   suggest that Justin Veigh was hired as a
           10   women," I mean Ena Scott, Tatiana Herdozia,   10   warehouseman? By "hired as warehouseman,"
           11   and Josienne Sajous -- whether they could     11   I mean hired as an individual classified as
           12   have been reclassified or should have been    12   a warehouseman under the terms of the
           13   reclassified as "warehouse" under the         13   collective bargaining agreement?
           14   contract?                                     14      A. No.
           15      A. I don't recall.                         15      Q. Okay. If you had found any
           16      Q. If we go to SWS-000262, what is         16   evidence to suggest that Justin Veigh had
           17   this document?                                17   been hired or at any time was a
           18      A. It's a memo that is dated June          18   warehouse-classified employee, would you
           19   20th, 2013, from me to Beth Toohig.           19   have included that in your report?
           20      Q. And what is this document? Is           20      A. Yes.
           21   this the result of your investigation?        21      Q. Did you thoroughly review all
           22           MS. CABRERA: Objection to the         22   relevant documents before preparing this
           23       form of the question.                     23   report?
           24      Q. What is this document?                  24      A. Yes.
           25       A. Can you scroll down?                   25      Q. And did you follow all

                                                Page 62                                            Page 64
            1            D. WALD-MARGOLIS                      1            D. WALD-MARGOLIS
            2      Q. Sure.                                    2   procedures and guidelines set by Southern
            3      A. It's just a one-page document.           3   for investigating claims of discrimination?
            4      Q. There are several pages. You             4      A. Yes.
            5   want me to continue scrolling down? I can.     5      Q. I am going to show you what has
            6      A. Yes. I would appreciate it               6   been marked as -- what will be marked as
            7   just to be able to look at this. Okay.         7   Exhibit 17, Plaintiff's Exhibit 17, and I
            8   Next page. Next page, please. Next page,       8   would like you to take a look at this
            9   please. Next page, please.                     9   document.
           10      Q. That is the end.                        10           MS. HOLMS: 17 is not showing.
           11      A. Okay. So, yes, this would be            11           MR. MOSER: What do you mean
           12   the investigation recap.                      12       "is not showing"?
           13      Q. Did you prepare this document?          13           MS. HOLMS: Well, I am still
           14      A. Yes.                                    14       looking at Exhibit 19.
           15      Q. Okay. And as of the date you            15           MR. MOSER: Oh, because I have
           16   prepared this document, did you find any      16       to do a different screen share. Hold
           17   evidence to suggest that Justin Veigh had     17       on. Okay.
           18   been hired as a warehouseman under the        18           MS. HOLMS: There we go.
           19   terms of the collective bargaining            19       Actually, that is 21. Did you want
           20   agreement?                                    20       17 or 21?
           21      A. I would have to reread the              21           MR. MOSER: This was the
           22   notes.                                        22       original numbering on it, but this
           23      Q. Well, let's go to the                   23       will be 17.
           24   conclusions -- which notes?                   24           MS. HOLMS: Let me get clarity
           25      A. The investigation, the memo.            25       on the way the numbers of the

                                                                            16 (Pages 61 to 64)
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                                              800-678-0166
Case 2:19-cv-07271-GRB-LGD Document 39-29 Filed 01/03/23 Page 17 of 27 PageID #: 636
                                                                                 November 21, 2022

                                                Page 65                                           Page 67
            1               D. WALD-MARGOLIS                  1            D. WALD-MARGOLIS
            2         exhibits are being marked. So far, I    2      Q. Do you recognize that
            3         marked 14, 15, 19. Now this one,        3   signature?
            4         although it reads "to be marked 21,"    4      A. No, I do not.
            5         you want to mark it 17?                 5      Q. Did you review this document
            6             MR. MOSER: No, it was 14, 15,       6   before coming to the conclusions in your
            7         and 19 was supposed to be 16. So,       7   investigation that you just reviewed?
            8         it's 14, 15, 16.                        8      A. I don't recall.
            9             MS. HOLMS: Okay. Okay.              9      Q. Is it fair to say that Southern
           10         Great.                                 10   takes claims of discrimination seriously?
           11             MR. MOSER: We're going in          11      A. I am sorry. Can you repeat
           12         numerical order.                       12   that?
           13             MS. HOLMS: Okay.                   13      Q. Is it fair to say that Southern
           14        Q. Mrs. Wald-Margolis, let me know      14   takes claims of discrimination in the
           15    when you would like me to scroll down?      15   workplace seriously?
           16        A. If you can shrink it just a          16      A. I am not employed at Southern
           17    little bit. And if there is a question to   17   now. I can't answer.
           18    this document, can you please repeat your   18      Q. At the time period that you
           19    question?                                   19   were employed there, did you believe that
           20        Q. I just want to have a chance to      20   Southern took claims of discrimination in
           21    review it first, then I would have a        21   the workplace seriously?
           22    question for you.                           22      A. Yes.
           23        A. Okay. Just scroll down,              23      Q. In your opinion, did Southern
           24    please. Is there more to this document?     24   thoroughly investigate any claim of
           25        Q. No. This is a one-page               25   discrimination that was made while you were

                                                Page 66                                           Page 68
            1             D. WALD-MARGOLIS                    1           D. WALD-MARGOLIS
            2    document.                                    2   employed there?
            3       A. Okay.                                  3       A. Yes.
            4            MS. CABRERA: Before any              4       Q. And in your opinion, did
            5        questions are asked, I am going to       5   Southern take remedial steps, if necessary,
            6        note my objection for the record.        6   to eliminate discrimination in the
            7        This does not appear to be a document    7   workplace, if necessary?
            8        that has been exchanged in discovery     8       A. I don't know.
            9        as well as portions of the prior         9       Q. When you conducted these
           10        exhibit, and so we will be moving to    10   investigations, are you conducting the
           11        strike all exhibits used in this        11   investigation in any way to protect
           12        deposition that are not a part of       12   Southern?
           13        this case.                              13       A. The investigation is to provide
           14            But go ahead. Ask your              14   the outcome.
           15        questions.                              15       Q. Okay. Your paycheck is signed
           16       Q. Do you recognize this document?       16   by somebody at Southern, correct?
           17       A. No, I don't.                          17       A. Not currently.
           18       Q. Does your handwriting appear on       18       Q. When you were working there,
           19    this document anywhere?                     19   you were receiving a paycheck from
           20       A. Can you scroll down. No, it           20   Southern?
           21    does not.                                   21       A. Correct.
           22       Q. There is a signature on here.         22       Q. Did you feel any pressure to
           23    Do you recognize that signature as Greg     23   ever report that there was no
           24    Frezie (phonetic)?                          24   discrimination when you believed there was
           25            MS. CABRERA: Objection.             25   discrimination?

                                                                           17 (Pages 65 to 68)
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Case 2:19-cv-07271-GRB-LGD Document 39-29 Filed 01/03/23 Page 18 of 27 PageID #: 637
                                                                                  November 21, 2022

                                                Page 69                                            Page 71
            1            D. WALD-MARGOLIS                      1            D. WALD-MARGOLIS
            2       A. No.                                     2       Q. These three women, did any of
            3       Q. When you did this particular            3   them ever file any EEO charges with the
            4   investigation, did you ever look into the      4   EEOC?
            5   composition of the warehouse classification    5       A. I don't recall.
            6   at the warehouse?                              6       Q. So would that be something that
            7       A. Can you restate your question?          7   you would have known if they had filed
            8       Q. When you prepared this report           8   federal complaints alleging discrimination?
            9   or this memo of your investigation, which      9       A. I don't recall.
           10   begins on SWS-262, had you looked into the    10       Q. So you don't know if they did
           11   gender makeup of the warehouse                11   or you don't recall one way or the other?
           12   classification?                               12       A. I don't recall.
           13       A. I don't recall.                        13       Q. Okay. So they could have filed
           14       Q. Had you looked into the gender         14   a federal complaint; they could not have.
           15   makeup of the clerical classification at      15   We don't know?
           16   the time you wrote this?                      16       A. Correct.
           17       A. I don't recall.                        17       Q. And they could have filed
           18       Q. Is that something that should          18   charges with the EEOC against Southern;
           19   have been done before preparing this          19   they could not have. We don't know?
           20   report?                                       20       A. I don't know.
           21       A. If it was in the course and            21       Q. Okay. And was there any
           22   scope of the nature of the investigation,     22   investigation beyond your investigation
           23   then it would have been looked into.          23   into these claims?
           24       Q. So you would have looked into          24       A. I don't know.
           25   the gender composition of the warehouse,      25       Q. Did you ever speak -- and I

                                                Page 70                                            Page 72
            1             D. WALD-MARGOLIS                     1            D. WALD-MARGOLIS
            2    correct?                                      2   don't want to know what you said to them --
            3            MS. CABRERA: Objection.               3   did you ever speak to an individual by the
            4       Q. Would you have looked into the          4   name of Keith Forel?
            5    gender composition of the warehouse with      5       A. The name I don't even recall.
            6    regard to these claims that these women       6       Q. Did you question Maria about
            7    were classified differently based on sex?     7   what had happened that these women came to
            8       A. I don't recall.                         8   learn about the fact that they believed
            9       Q. I know you don't recall if you          9   they have classified differently?
           10    did, but is that something that you would    10       A. I don't recall.
           11    have done?                                   11       Q. Did you ever report to anyone
           12       A. Yes.                                   12   anything about Maria's involvement in these
           13       Q. Do you recall anything about           13   allegations of discrimination?
           14    the gender makeup of the warehouse           14       A. Can you restate your question?
           15    classification?                              15       Q. Did you ever have any
           16       A. I don't recall.                        16   conversations with anyone at Southern about
           17       Q. Do you recall anything about           17   Maria's involvement in these claims of
           18    the gender makeup of the clerical            18   discrimination?
           19    classification?                              19       A. I don't recall.
           20       A. I don't recall.                        20       Q. Did you meet with Maria as part
           21       Q. Now, these three women, Ena            21   of your investigation?
           22    Scott, Tatiana Herdozia, and Josienne        22       A. I don't recall.
           23    Sajous, did they eventually file a federal   23       Q. Now, the way you performed this
           24    lawsuit against Southern?                    24   investigation, is that consistent with the
           25       A. I don't know.                          25   way Southern would investigate other claims


                                                                            18 (Pages 69 to 72)
                                         Lexitas Court Reporting
                                               800-678-0166
Case 2:19-cv-07271-GRB-LGD Document 39-29 Filed 01/03/23 Page 19 of 27 PageID #: 638
                                                                                  November 21, 2022

                                                Page 73                                            Page 75
            1             D. WALD-MARGOLIS                     1            D. WALD-MARGOLIS
            2    of discrimination or retaliation?             2       A. I don't recall.
            3        A. That's my understanding.               3       Q. Do you know if there's a
            4        Q. Okay. Is that a "yes"?                 4   monthly meeting or a weekly meeting that
            5        A. To the best of my knowledge,           5   you attended?
            6    yes.                                          6       A. I don't recall.
            7        Q. Okay. And at any point during          7       Q. Do you recall approximately how
            8    your employment with Southern after May       8   many meetings you attended on a yearly
            9    5th, 2016, did you speak with Maria?          9   basis in 2013?
           10        A. No.                                   10       A. I don't recall.
           11        Q. So let me clarify that because        11       Q. At any time between -- from the
           12    I think I have the date wrong. If we go      12   beginning of 2014 until the end of your
           13    back to May of 2013, did you speak with      13   employment, do you remember having any
           14    Maria in May of 2013?                        14   regular --
           15        A. Can you make that a little            15       A. Hold on, my cat is about to
           16    bigger, please?                              16   jump on my computer. I am sorry.
           17        Q. Sure.                                 17       Q. That is fine. From January
           18        A. Thank you. I may have spoken          18   2014 until you separated from employment
           19    to Maria in May of 2013.                     19   with Southern, do you recall if you
           20        Q. Do you recall any conversation        20   attended any business meetings regularly at
           21    that you had with Maria about the job        21   Southern?
           22    classifications of her subordinates?         22       A. I don't recall.
           23        A. I recall meeting with Maria           23       Q. Did you meet with any attorneys
           24    about this.                                  24   at Southern regarding Maria Suarez at any
           25        Q. Can you tell me everything that       25   time?

                                                Page 74                                            Page 76
            1            D. WALD-MARGOLIS                      1           D. WALD-MARGOLIS
            2   you remember about that particular meeting?    2      A. Not that I recall.
            3       A. I recall meeting with her. It           3      Q. Did you meet with any attorney
            4   was the communication of the women who         4   of Southern regarding Ena Scott, Tatiana
            5   reported to her and how they felt that they    5   Herdozia, or Josienne Sajous?
            6   were treated differently based upon the        6      A. I don't recall.
            7   classification that was stated as the          7      Q. Were you ever present at any
            8   Workers' Compensation code and that I would    8   meeting in which the management of Southern
            9   be following up with the employees             9   discussed the claims made by either Ena
           10   directly.                                     10   Scott, Tatiana Herdozia, or Josienne
           11       Q. So in 2013, were there regular         11   Sajous?
           12   meetings that you attended at Southern?       12      A. I don't recall.
           13       A. Is Angie back on?                      13      Q. Do you believe that Maria was
           14       Q. Oh, sorry, yeah. Your attorney         14   to blame for these women believing they
           15   is not here. I withdraw the question. My      15   were discriminated against?
           16   apologies.                                    16      A. No.
           17           MS. CABRERA: I am here.               17      Q. And do you think that Maria was
           18           MR. MOSER: Okay. Great.               18   responsible for the fact that these women
           19       Q. So let me just repeat the              19   made claims of discrimination against
           20   question. In 2013, did you attend meetings    20   Southern?
           21   at Southern on a regular basis?               21      A. I am unaware that they made
           22       A. Can you clarify your question?         22   claims against...
           23       Q. Well, did you meet with other          23      Q. I am not talking about a formal
           24   employees in the conference room or           24   charge. I am talking about the claims that
           25   individually on an ongoing basis?             25   were memorialized in the e-mails they have


                                                                            19 (Pages 73 to 76)
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Case 2:19-cv-07271-GRB-LGD Document 39-29 Filed 01/03/23 Page 20 of 27 PageID #: 639
                                                                             November 21, 2022

                                             Page 77                                          Page 79
            1             D. WALD-MARGOLIS                 1            D. WALD-MARGOLIS
            2    seen so far.                              2   resigned from Southern and your new job?
            3        A. Oh, okay. Can you repeat your      3      A. Not that I recall.
            4    question?                                 4      Q. Did you get an increase in
            5        Q. My question is --                  5   salary when you got your new job?
            6            MR. MOSER: Could you read back    6      A. I don't believe so.
            7        the question for the witness.         7      Q. Did you have to work fewer
            8            (Whereupon, the referred to       8   hours when you got the new job?
            9        question was read back by the         9      A. No.
           10        Reporter.)                           10      Q. Did you have to work more hours
           11        A. No, I don't.                      11   when you got your new job?
           12        Q. Okay. Were you involved at all    12      A. It was the same. It was
           13    in the decision to change Maria's        13   comparable.
           14    classification in 2014?                  14      Q. So it was the same pay. Was it
           15        A. No.                               15   the same hours? Was it the same
           16        Q. And who was involved in that      16   responsibility?
           17    decision?                                17      A. It was no longer in talent
           18        A. Whomever the hiring manager       18   acquisition.
           19    would have been.                         19      Q. Okay. Was the stress of the
           20        Q. Would that have been Kevin        20   job more or less the same?
           21    Randall?                                 21      A. Probably more.
           22        A. Possibly.                         22      Q. More stress after you left?
           23            MR. MOSER: I need to take a      23      A. Yes.
           24        one-minute break.                    24      Q. Why was it more stressful?
           25            (Whereupon, a short recess was   25      A. Because it was building up an

                                             Page 78                                          Page 80
            1             D. WALD-MARGOLIS                 1            D. WALD-MARGOLIS
            2        taken.)                               2   HR department.
            3       Q. Now, why did your employment        3       Q. Was there anything that
            4    with Southern end?                        4   precipitated your decision to move on?
            5       A. Resigned.                           5       A. Personal choices.
            6       Q. Why did you resign?                 6       Q. Can you remember any of those
            7       A. Another opportunity.                7   personal reasons or choices why you wanted
            8       Q. When did you begin searching        8   to move on?
            9    for another opportunity?                  9       A. It was a catalyst of my
           10       A. Probably April or May of 2016.     10   father's death.
           11       Q. And why did you begin looking      11       Q. Okay. I apologize.
           12    for another opportunity?                 12           And was there some type of
           13       A. Personal choice.                   13   falling out between you and anyone at
           14       Q. And what was that personal         14   Southern?
           15    choice motivated by?                     15       A. Not that I am aware.
           16       A. Just time to move on from          16       Q. So can you explain for me --
           17    Southern.                                17   and I don't need to know all the detail.
           18       Q. You had worked with Southern       18   Can you explain to me what motivated your
           19    for how many years at that point?        19   decision or why you decided to leave
           20       A. I believe we agreed it was 11.     20   Southern after 11 years?
           21       Q. Okay. What was your salary at      21       A. It was a very personal decision
           22    that point in time?                      22   predicated on my father's passing that it
           23       A. I don't recall.                    23   was time to move on.
           24       Q. Was there any lapse in the         24       Q. Were there any other reasons
           25    employment between the time that you     25   why you moved on?


                                                                        20 (Pages 77 to 80)
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Case 2:19-cv-07271-GRB-LGD Document 39-29 Filed 01/03/23 Page 21 of 27 PageID #: 640
                                                                                  November 21, 2022

                                                 Page 81                                            Page 83
            1             D. WALD-MARGOLIS                      1            D. WALD-MARGOLIS
            2        A. None that I am aware of.                2       Q. Let's say you supervised -- I
            3        Q. Do you think that you were              3   don't know -- Charlie Chaplin, right. If
            4    being treated fairly by Southern?              4   we looked at Charlie's file, it would show
            5        A. Yeah.                                   5   that you were his manager?
            6        Q. Did you feel as though you had          6       A. The electronic system would,
            7    friends at Southern?                           7   yes.
            8        A. I am sorry, you broke up on             8       Q. Have you ever seen anybody at
            9    that.                                          9   Southern with more than one manager?
           10        Q. Did you believe you had friends        10       A. I don't recall.
           11    at Southern?                                  11       Q. Can you think of anybody who
           12        A. Yes.                                   12   had more than one manager?
           13        Q. Did anyone at Southern ever ask        13       A. I don't recall.
           14    you to do or say anything that you believed   14       Q. Did you ever have more than one
           15    betrayed your ideals?                         15   manager?
           16        A. No.                                    16       A. Not at any one time.
           17        Q. At least at the time that you          17       Q. And was it Southern's policy
           18    were employed at Southern, did they keep      18   that each employee would have one manager
           19    records of who was considered for a           19   at one time?
           20    particular position?                          20       A. I don't know.
           21        A. Within Tolleya.                        21       Q. Do you know what the difference
           22        Q. Correct. Right. And did they           22   between a manager and a supervisor is?
           23    also keep records of who was interviewed      23       A. Yes.
           24    for a particular position?                    24       Q. What is the difference between
           25        A. To the best of my knowledge,           25   a manager and a supervisor?

                                                 Page 82                                            Page 84
            1               D. WALD-MARGOLIS                    1            D. WALD-MARGOLIS
            2    it's -- it was in Tolleya, recorded all of     2      A. A supervisor would report to a
            3    it.                                            3   manager with the supervisor having
            4         Q. Okay. So that information              4   different responsibilities than a manager.
            5    would have been recorded in Tolleya if         5      Q. At Southern, how were those
            6    there was an interview; is that correct?       6   responsibilities different?
            7         A. That is my understanding.              7      A. I don't know.
            8         Q. And did Southern also record           8      Q. But is it fair to say that the
            9    who was hired for a particular position?       9   responsibilities of a supervisor and of a
           10         A. Yes.                                  10   manager were different?
           11         Q. Did Southern keep records of          11      A. Yes.
           12    who had managerial authority?                 12      Q. Is it fair to say that a
           13         A. I don't know.                         13   supervisor always reported to a manager?
           14         Q. Well, does every single               14      A. I don't know.
           15    employee at Southern have a direct report?    15      Q. The individuals that were
           16    And I am not talking about now. I am          16   supervised by a supervisor, who did they
           17    talking about the time that you worked        17   report to? Did they report to the
           18    there. Did every single employee at           18   supervisor's manager?
           19    Southern report to someone?                   19      A. They could. I don't know. I
           20         A. Yes.                                  20   don't recall how departments were set up
           21         Q. Was that direct report listed         21   and reporting structures.
           22    anywhere in their employee file?              22      Q. But if somebody had managerial
           23         A. Yes.                                  23   authority that would be something that
           24         Q. Where was it listed?                  24   would be reflected in the records of
           25         A. Whatever system they had.             25   Southern; is that fair to say?

                                                                             21 (Pages 81 to 84)
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Case 2:19-cv-07271-GRB-LGD Document 39-29 Filed 01/03/23 Page 22 of 27 PageID #: 641
                                                                                 November 21, 2022

                                                Page 85                                            Page 87
            1             D. WALD-MARGOLIS                     1            D. WALD-MARGOLIS
            2        A. Yes.                                   2   investigation files at Southern?
            3        Q. Okay. And let's talk about             3       A. Yes.
            4    union employees just for a second. What       4       Q. What were the investigation
            5    role did managers have in managing union      5   files for?
            6    employees? Let's talk about Local 1?          6       A. If there was a matter that was
            7        A. Can you be more specific,              7   to be investigated, there is --
            8    please?                                       8       Q. Were there investigation files
            9        Q. Well, what role did managers           9   for matters, were there investigation files
           10    have in managing employees of Local 1?       10   for employees, or a combination?
           11    Could they terminate them?                   11       A. An investigation file was
           12           MS. CABRERA: Objection to the         12   created if there was a matter to
           13        form of the question.                    13   investigate.
           14        A. Managers could fire and hire.         14       Q. Okay. Would that matter
           15        Q. Could supervisors hire and            15   involve an employee?
           16    fire?                                        16       A. Yes.
           17        A. I don't recall.                       17       Q. And what was the purpose of the
           18        Q. Do you recall any supervisor          18   investigation file?
           19    who hired and fired any individual?          19       A. It contained the investigation
           20        A. I don't recall.                       20   information.
           21        Q. Did supervisors interview             21       Q. Did it say what the employee
           22    candidates?                                  22   was being investigated for?
           23        A. I don't recall.                       23       A. It might. It could.
           24        Q. When you were at Southern, were       24       Q. If an employee was being
           25    there employee files?                        25   investigated for something, would it say

                                                Page 86                                            Page 88
            1             D. WALD-MARGOLIS                     1            D. WALD-MARGOLIS
            2       A. Yes.                                    2   what they were being investigated for?
            3       Q. Okay. What type of information          3       A. It would depend upon who
            4    was kept in the employee file?                4   conducted the investigation.
            5       A. Employment application, résumé,         5       Q. Did you ever conduct
            6    an offer letter, letters of discipline or     6   investigations?
            7    commendation or performance review, tax       7       A. Yes.
            8    forms, change of emergency contacts.          8       Q. Did you ever conduct an
            9       Q. How about job descriptions?             9   investigation into Maria Suarez?
           10       A. I don't know.                          10       A. No.
           11       Q. Does Southern have a job               11       Q. Did anyone at Southern ever
           12    description for every employee?              12   conduct an investigation into Maria Suarez?
           13       A. I don't know.                          13       A. I don't know.
           14       Q. What is the purpose of a job           14       Q. Did you ever see an
           15    description?                                 15   investigation file for Maria Suarez?
           16       A. A job description defines the          16       A. No.
           17    essential functions which are to be          17       Q. Do you have knowledge whether
           18    completed by the person in that role and     18   an investigation file for Maria Suarez
           19    the scope of the function to be completed.   19   exists or doesn't exist?
           20    Might even include education and             20       A. I do not.
           21    requirements to meet the needs of the        21       Q. Where are the investigation
           22    position and any ADA-required physical       22   files kept?
           23    components to the position: Lifting,         23       A. I don't know.
           24    pulling, pushing, squatting.                 24       Q. Who has access to the
           25       Q. Did you have investigative or          25   investigation files or who had access when

                                                                            22 (Pages 85 to 88)
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Case 2:19-cv-07271-GRB-LGD Document 39-29 Filed 01/03/23 Page 23 of 27 PageID #: 642
                                                                                 November 21, 2022

                                                Page 89                                            Page 91
            1            D. WALD-MARGOLIS                      1            D. WALD-MARGOLIS
            2   you were there?                                2      Q. Was it a privately owned
            3      A. HR department. The director              3   company?
            4   and the -- whomever was conducting the         4      A. I don't know.
            5   investigation.                                 5      Q. Did your reason for leaving
            6      Q. So Beth Toohig, when she was             6   have anything to do with the fact that
            7   director of human resources, she would have    7   Southern sells alcohol?
            8   access to the investigation files?             8      A. No.
            9      A. That's correct.                          9      Q. Let's go back to 2016. During
           10      Q. And who typically would conduct         10   that last year that you were at Southern,
           11   an investigation other than Beth Toohig?      11   you were in recruitment?
           12      A. Whomever the business partner           12      A. Yes.
           13   or assigned person was.                       13      Q. Why had you been put into
           14      Q. And the business partner or             14   recruitment?
           15   assigned person, who were they?               15      A. There was a statewide position
           16      A. It could have been Michelle             16   that I had applied for.
           17   Meyer or Andrea Metzger.                      17      Q. Do you recall any of the duties
           18      Q. Could it have been anybody else         18   that you had while you were in recruitment?
           19   besides Elizabeth Toohig, Michelle Meyer,     19      A. It was talent acquisition. I
           20   or Andrea Metzger?                            20   believe it was a manager-based position for
           21      A. While I was employed there,             21   the State of New York.
           22   there was another person, Halley Burns.       22      Q. Okay. And were you involved in
           23      Q. Anyone else?                            23   the promotion of any individuals within
           24      A. Those are the only people while         24   Southern?
           25   I was employed.                               25      A. I was not a decision maker.

                                                Page 90                                            Page 92
            1            D. WALD-MARGOLIS                      1            D. WALD-MARGOLIS
            2       Q. Was Halley Burns an employee of         2      Q. Were you involved at all in the
            3   Southern?                                      3   promotion of individuals in Southern?
            4       A. Yes.                                    4      A. So the responsibilities were
            5       Q. Were Michelle and Andrea                5   ensuring that the jobs were posted,
            6   Metzger employees of Southern?                 6   applications were funneled through for
            7       A. Yes.                                    7   interviews, and processed based on the
            8       Q. Who assisted these individuals          8   decisions that were made upon these
            9   in the investigations?                         9   interviews.
           10       A. I don't -- I have no knowledge.        10      Q. And did you have that
           11       Q. Did attorneys sometimes assist         11   responsibility for the entire State of New
           12   these individuals in their investigations?    12   York?
           13       A. I don't know.                          13      A. Yes.
           14       Q. Did attorneys ever come to the         14      Q. If Maria Suarez had been
           15   human resource department of Southern Wine    15   reclassified and her duties changed, let's
           16   and Spirits?                                  16   say, in May of 2016, is that something you
           17       A. Yes.                                   17   would have been involved in?
           18       Q. For what reason would they             18      A. If she had applied for another
           19   come? I don't want to know about what was     19   position.
           20   discussed. I don't want to know what they     20      Q. So if she applied for the
           21   said. I want to know why they came to the     21   position, you would have been involved in
           22   HR department?                                22   that?
           23       A. They conducted compliance              23      A. Can you clarify your question?
           24   training and they would come to discuss       24      Q. If anyone in the State of New
           25   matters relating to the company.              25   York applied for a managerial position at

                                                                            23 (Pages 89 to 92)
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Case 2:19-cv-07271-GRB-LGD Document 39-29 Filed 01/03/23 Page 24 of 27 PageID #: 643
                                                                                  November 21, 2022

                                                 Page 93                                           Page 95
            1               D. WALD-MARGOLIS                    1             D. WALD-MARGOLIS
            2    Southern, would you have been involved in      2   somebody else?
            3    that?                                          3       A. Correct.
            4        A. I need a better understanding           4       Q. Okay. Did you have the
            5    of what "involved" is.                         5   authority to create a job description
            6        Q. Well, did you have any role in          6   without approval from someone else?
            7    it at all?                                     7       A. No.
            8        A. From a process standpoint, not          8       Q. Is it fair to say that every
            9    a decision-based.                              9   job description that you actually created
           10        Q. From the process standpoint,           10   was approved by someone else?
           11    what was your role?                           11       A. Yes.
           12        A. To ensure the position was             12       Q. And who within the State of New
           13    posted, applicants were processed through     13   York had the authority to approve job
           14    to the hiring manager, and dispositioned      14   descriptions?
           15    accordingly.                                  15       A. The hiring managers which were
           16        Q. And who determined what the job        16   department heads, as well as the heads of
           17    description would be?                         17   the operational divisions.
           18        A. I don't know.                          18       Q. So you create job descriptions,
           19        Q. Did you actually create the job        19   is that fair to say, and then there is a
           20    posting?                                      20   hiring process, correct?
           21        A. Yes.                                   21       A. To the best of my recollection,
           22        Q. And describe for me how you            22   there is a requisition process.
           23    would create the job posting?                 23       Q. And there's levels of approval
           24        A. It was through the -- if I am          24   for that candidate to get the job; is that
           25    remembering it correctly, through the         25   fair to say?

                                                 Page 94                                           Page 96
            1             D. WALD-MARGOLIS                      1            D. WALD-MARGOLIS
            2    Tolleya system. There was a job                2       A. The requisition, which is a
            3    description that got uploaded or created       3   request to fill a vacancy, starts the
            4    and a job posting went out.                    4   process, which has the job description
            5       Q. How did you know which jobs to           5   attached to it. So there is an approval to
            6    actually post?                                 6   recruit for that position, and once the
            7       A. It would be either from the              7   requisition and authorization to hire for
            8    directors of the operations or sales, the      8   that role has been processed, the position
            9    operational lines based upon approved          9   can be posted for applicants to apply to.
           10    requisition process, also through the         10       Q. And then once individuals
           11    Tolleya system.                               11   apply, what is the next step in the
           12       Q. So whose responsibility was it          12   process?
           13    to prepare the actual job description?        13       A. There's the communication to
           14       A. That would be the hiring                14   the hiring manager of here's the
           15    manager.                                      15   applicants.
           16       Q. And how would the hiring                16       Q. Who makes the selection as to
           17    manager prepare the job description?          17   which applicants to interview?
           18       A. I don't know.                           18       A. Hiring manager.
           19       Q. Would you actually create the           19       Q. Who makes the decision as to
           20    job description in Tolleya? Meaning,          20   which applicant to hire?
           21    generate it?                                  21       A. I don't know directly.
           22       A. If I recall correctly, it was           22       Q. At some point, would the hire
           23    an upload.                                    23   have to be approved by different
           24       Q. Okay. That would be from                24   individuals other than the hiring manager?
           25    information or directions that you got from   25       A. I don't know.

                                                                             24 (Pages 93 to 96)
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Case 2:19-cv-07271-GRB-LGD Document 39-29 Filed 01/03/23 Page 25 of 27 PageID #: 644
                                                                                    November 21, 2022

                                                 Page 97                                            Page 99
            1             D. WALD-MARGOLIS                      1            D. WALD-MARGOLIS
            2       Q. Did Roy Cohen ever have to               2           MS. HOLMS: This will be 18.
            3    approve the hiring of any individual?          3           MR. MOSER: We are up to 18.
            4       A. I don't know.                            4           MS. HOLMS: Yes.
            5           MR. MOSER: Just bear with me            5        Q. I am going to draw your
            6        one second.                                6   attention to *SGWS-00892, the second page
            7           MS. CABRERA: If you're going            7   here.
            8        to be much longer, I need a break.         8           Do you see this last line where
            9           MR. MOSER: I am almost done.            9   it says "April 1, 2016"? Do you know what
           10        I will be done in ten minutes. I          10   this language means: "Created from
           11        don't know. Is that enough?               11   duplication of"?
           12           MS. CABRERA: Okay. Just if             12        A. By the wording of the note,
           13        you're going to go beyond that, I am      13   it's a duplicate. Meaning, it was copied
           14        going to need a break.                    14   from that other requisition number of 3085.
           15           MR. MOSER: Gotcha.                     15        Q. And is this something you would
           16       Q. Were the job descriptions used          16   have done on your own or something you
           17    as a basis for evaluating the employee's      17   would have done with directions from
           18    performance?                                  18   somebody else?
           19       A. I don't know.                           19        A. If you scroll down below that,
           20       Q. Did you ever review any                 20   please.
           21    performance evaluations?                      21        Q. Sure.
           22       A. In my tenure at Skyline, yes, I         22        A. Keep scrolling down. I don't
           23    did.                                          23   know what that one is, I am sorry. Okay.
           24       Q. How about at Southern?                  24   Can you scroll up, please. So the creation
           25       A. Oh, wrong company. Yes, at              25   of a requisition is at the direction of.

                                                 Page 98                                           Page 100
            1             D. WALD-MARGOLIS                      1             D. WALD-MARGOLIS
            2    Southern.                                      2   That means that somebody wants a position
            3       Q. What was the purpose of your             3   filled. So if the job description already
            4    review?                                        4   existed in the system, this Tolleya system,
            5       A. As a member of the HR team, we           5   you would just duplicate it, and then
            6    would review the information provided by       6   change the characteristics to the New York
            7    the direct manager for content.                7   location, the New York Metro location, or
            8       Q. And what do you mean when                8   Upstate. So that is what it meant.
            9    reviewing "for content"? Can you be more       9       Q. Okay.
           10    specific?                                     10           MR. MOSER: I have no further
           11       A. To make sure that they                  11        questions. Thank you very much for
           12    addressed the questions and performance       12        your time.
           13    concerns, if there were any; that the goals   13           MS. CABRERA: Thank you.
           14    were smart-based goals in order to address    14           (Whereupon, Plaintiff's
           15    any deficiencies or commendations.            15        Exhibits 14 through 18 were marked
           16       Q. Do you know whether employees           16        for identification as of this date by
           17    were reviewed based upon their ability to     17        the Exhibit tech.)
           18    perform what was in their job descriptions?   18           (Whereupon, at 3:18 P.M., the
           19       A. I don't know.                           19        Examination of this witness was
           20       Q. When we looked at --                    20        concluded.)
           21           MR. MOSER: I don't think we            21
           22        have this marked yet, so this will be     22         °     °    °     °
           23        one last document. Hold on. I don't       23
           24        believe I marked this yet. What are       24
           25        we up to, 18?                             25


                                                                              25 (Pages 97 to 100)
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                                               800-678-0166
Case 2:19-cv-07271-GRB-LGD Document 39-29 Filed 01/03/23 Page 26 of 27 PageID #: 645
                                                                                            November 21, 2022

                                                        Page 101                                              Page 103
            1          DECLARATION                                    1    INFORMATION AND/OR DOCUMENTS REQUESTED
            2                                                         2   INFORMATION AND/OR DOCUMENTS           PAGE
            3        I hereby certify that having been                3   (None)
            4   first duly sworn to testify to the truth, I           4
            5   gave the above testimony.                             5
            6                                                         6      QUESTIONS MARKED FOR RULINGS
            7       I FURTHER CERTIFY that the foregoing              7   PAGE LINE QUESTION
            8   transcript is a true and correct transcript           8   (None)
            9   of the testimony given by me at the time              9
           10   and place specified hereinbefore.                    10
           11                                                        11
           12                                                        12
           13                                                        13
           14            _________________________                   14
           15               DINA WALD-MARGOLIS                       15
           16                                                        16
           17                                                        17
           18   Subscribed and sworn to before me                    18
           19   this _____ day of ________________ 20___.            19
           20                                                        20
           21                                                        21
           22   ________________________________________             22
           23     NOTARY PUBLIC                                      23
           24                                                        24
           25                                                        25


                                                        Page 102                                              Page 104
            1               EXHIBITS                                  1            CERTIFICATE
            2                                                         2
            3    PLAINTIFF'S EXHIBITS                                 3    STATE OF NEW YORK )
            4                                                         4              : SS.:
            5    EXHIBIT EXHIBIT              PAGE                    5    COUNTY OF KINGS  )
            6    NUMBER DESCRIPTION                                   6
            7    14   Requisition form     100                        7        I, SANDRA SIERRA, a Notary Public for
            8    15   Requisition Form      100                       8    and within the State of New York, do hereby
            9    16   E-Mail            100                           9    certify:
           10    17   Hire Notice        100                         10        That the witness whose examination is
           11    18   Inventory control    100                       11    hereinbefore set forth was duly sworn and
           12                                                        12    that such examination is a true record of
           13         (Exhibits retained by Counsel.)                13    the testimony given by that witness.
           14                                                        14        I further certify that I am not
           15               INDEX                                    15    related to any of the parties to this
           16                                                        16    action by blood or by marriage and that I
           17    EXAMINATION BY                               PAGE   17    am in no way interested in the outcome of
           18    MR. MOSER                               6           18    this matter.
           19                                                        19        IN WITNESS WHEREOF, I have hereunto
           20                                                        20    set my hand this 13th day of November 2022.
           21                                                        21
           22                                                        22
           23                                                        23
           24                                                        24     _________________________________________
           25                                                        25          SANDRA SIERRA


                                                                                    26 (Pages 101 to 104)
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                                                      800-678-0166
Case 2:19-cv-07271-GRB-LGD Document 39-29 Filed 01/03/23 Page 27 of 27 PageID #: 646
                                                                                    November 21, 2022

                                                                 Page 105
            1   ERRATA SHEET FOR: DINA WALD-MARGOLIS
            2     DINA WALD-MARGOLIS, being duly sworn, deposes
            3     and says: I have reviewed the transcript of my
            4     proceeding taken on 11/21/2022. The following
            5     changes are necessary to correct my testimony.
            6   ______________________________________________
            7   PAGE LINE          CHANGE                  REASON
            8   ----|----|---------------------|--------------
            9   ----|----|---------------------|--------------
           10   ----|----|---------------------|--------------
           11   ----|----|---------------------|--------------
           12   ----|----|---------------------|--------------
           13   ----|----|---------------------|--------------
           14   ----|----|---------------------|--------------
           15   ----|----|---------------------|--------------
           16   ----|----|---------------------|--------------
           17   ----|----|---------------------|--------------
           18   ----|----|---------------------|--------------
           19   ----|----|---------------------|--------------
           20   ----|----|---------------------|--------------
           21        Witness Signature:_____________________
           22   Subscribed and sworn to, before me
           23   this ___ day of __________, 20 ___.
           24   ______________________________________________
           25   (NOTARY PUBLIC)                  MY COMMISSION EXPIRES




                                                                                       27 (Page 105)
                                                          Lexitas Court Reporting
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